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                                               U.S.       Page 1of
                                                    Department  of Justice
                                                                   12 PageID #: 72780
                                                            Drug Enforcement Administration
                                                            8701 Morrissette Drive
                                                            Springfield, Virginia 22152


         www.dea.gov
                                                             JUN 122012°

         Dear Registrant:

             This letter is being sent to every entity in the United States who is registered with the Drug
         Enforcement Administration (DEA) to manufacture or distribute controlled substances. This
         letter is to remind controlled substance manufacturers and distributors of their responsibility to
         inform DEA of suspicious orders in accordance with 21 Code of Federal Regulations (C.F.R.)
         § 1301.74(b).

             On September 27, 2006, DEA sent a letter to this registrant cott1munity expressing concerns
         regarding drug abuse in the United States and highlighted the responsibility of manufacturers and
         distributors to be vigilant in the distribution of controlled substan~es. To assist manufacturers
         and distributors, DEA listed circwnstances that might be indicative of diversion. On December
         27, 2007, DEA issued another letter which reiterated the responsibility of controlled substance
         manufacturers and distributors to inform DEA of suspicious orders in accordance with 21 C.F.R.
         § 1301.74(b). Although DEA's September 2006 letter included a list of factors that might
         indicate diversion, DEA wants to stress that this was not a comprehensive list of all possible
         indications of diversion. DEA encourages registrants to take an integrated approach. This point
         was emphasized in the December 2007 letter, and DEA is once again bringing it to your
         attention.

            Under federal law, all manufacturers and distributors are required to maintain effective
         controls against diversion. 21 United States Code (U.S.C.) § 823. DEA regulations require all
         manufacturers and distributors to report suspicious orders of controlled substances. Specifically,
         21 C.F.R. § 1301.74(b) states, "The registrant shall design and operate a system to disclose to the
         registrant suspicious orders of controlled substances." This regulation clearly places the
        .responsibility on the registrant to design and operate such a system. Accordingly, DEA does not
         approve or otherwise endorse any specific system for reporting suspicious orders.

            The registrant is also required to inform the local DEA Field Division Office of suspicious
         orders when discovered. The regulation provides examples of suspicious orders such as orders of
         an unusual size, orders deviating substantially from, a normal pattern; and orders of an unusual
         frequency. The determination of whether an order !s Suspicious depends not only on the ordering
         patterns of the particular customer, but also on the patterns of the registrant's customer base and
       . the patterns throughout the relevant segment of the regulated industry.

            Registrants who rely on rigid formulas to identify whether an order is suspicious may fail to
         detect suspicious orders. For example, this system'might not identify suspicious orders placed by
         a phannacy, if that phannacy placed unusually large orders from the beginning of its relationship
         with the supplier. This system might not identify orders as suspicious if the orders were solely
         for one highly abused controlled substance. It should be noted that ordering one highly abused
         controlled substance and little or nothing else may indicate a deviation from the normal pattern of
         what phannacies generally order.

                                                                                17-MDL-2804

                                                                            PLAINTIFFS TRIAL
                                                                                EXHIBIT
                                                                          P-00032_00001
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                           ABDCMDL00378493
                                                                                                        P-00032_00001
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                                                                                                         Page2


             When reporting an order as suspicious, registrants must be clear in their communications with
         the DEA Field Division Office that the registrant is actually characterizing an order as suspicious.
         Daily, weekly, or monthly reports submitted by a registrant to their local DEA office artd labeled
         as "excessive purchases" do rtot comply with the requirement to report suspicious orders, even if
         the registrant calls such reports "suspicious order reports." If the registrant determines the order
         is suspicious, the order may not be shipped and this suspicion must be reported to the local DEA
         Field Division Office.                                ·

            Registrants who routinely report suspicious orders, yet fill these orders without first
         ascertaining that the order will not be diverted into other than legitimate medical, scientific, or
         industrial channels, are failing to maintain effective controls agairtst diversion. Failure to
         maintain effective controls against diversion is inconsistent with the public interest as that term is
         used in 21 U.S.C. §§ 823 and 824, and may result in the revocation of the registrant's DEA
         Certificate of Registration. DEA may also pursue civil and criminal sanctions.

             For more information regarding your obligation to report suspicious orders pursuant to 21
         C.F.R. § 1301.74(b), please review the Final Order issued by the DEA Deputy Administrator in
         the matter of Southwood Pharmaceuticals, Inc., 72 FR 36487 (2007). This document reiterates
         the duty to report suspicious orders when discovered by the registrant, and provides some criteria
         to use when determining whether an order is suspicious. The Final Oide:r also specifically
         discusses a registrant's obligation to maintain effective controls against the diversion of
         controlled substances. You may obtain a copy of this Final Order, along with other infonnation
         provided by the Office of Diversion Control, at www.DEAdiversion.usdoj.gov.

             As always, it is DEA's goal to work in cooperation with the regulated community. DEA
         seeks to educate its registrants on their responsibilities and obligations under federal laws and
         regulations to ensure that controlled substances are used for legitimate purposes artd to· prevent .
         diversion: Your role in the proper handling of controlled substances is critical for public safety
         as it helps to protect society against drug abuse and diversion.


                                                          ·~m;+,
                                                          (     JJseph T. Rannazzisi        .
                                                              · Deputy Assistant Administrator
                                                                Office of Diversion Control




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                            ABDCMDL00378494
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                                          U.S. DEPRRTmEnT DF JUSTICE

                                     DRU& EnPORCEmEnTADminlSTRRTlOn


       www.dea.gov                                                                     Washington, D.C. 20537
                                                                                      . December 27, 2007




                                                                                     In reference to registration
      Dear Registrant:
              This letter is being ifelit to every entity in the United States registered with-the Drug
      Enforcement Administration (DEA) to manufacture or distribute controlled substances. The purpose
      of this letter is to reiterate the responsibilitie_s of controlled substance manufacturers and distributors
      to inform DEA of suspicious orders in accordance with 21 CFR 1301.14(b).

             In addition to, arid not in lieu of, the general requirement under 21 USC 823, that
      manufacturers and distributors maintaih effective controls against diversion, DEA regulations require
      all manufacturers and distributors to report suspicious orders of controlled substances. lltle 21 CFR
      1301.74(b), specifically requires that a registrant "design and operate a system to disclose tbthe
      registrant suspicious orders of c.ontrolled su~stances." The regulation clearly indicates that it is the
      sole responsibility of the registrant to design and operate such a system. Accordingly, DEA does not
      approve or otherwise endorse any specific system for reporting suspicious orders. Past
      communications With DEA. whether ·implicit or explicit, that could be construed as approval of a
      particular system for reporting suspicious orders, should no longer be taken to mean that DEA
      approves a specifi¢ system.

             The regulati9n also requires that the registrant inform the local DEA Division Office of
      suspicious orders wben discovered by the registrant. Filing a monthly report of completed .
      transactions (e.g., "excessive purchase report" or "high unit purchasesj') does not meet the regulatory
      requirement to report suspicious orders. Registrants are reminded that their resp·onsibility does not
      end merely with the filing of a suspicious order report. Registrants must conduct an independent
      analysis of suspicious orders prior to completing a sale to determine whether the controlled ·
      substances are likely to be diverted from legitimate channels. Reporting an order as suspicious will
      not absolve the registrant of responsibillty if the registrant knew, or should have known, that the
      controlled substances were being diverted.

             The regulation specifically states that suspicious orders include orders of an unusual size,
     orders deviating substantially from a normal pattern, and orders of an unusual frequency. These
     criteria are disjunctive and are not all inclusive. For example, if an order deviates substantially from a
     normal pattern, the size of the order does not matter and the order should be reported as suspicious.
     Likewise, a registrant need not wait for a "normal pattern" to develop over time before determining
     whether a particular order is suspicious. The size of an order alone, whether or not it deviates from a
     normal pattern, is enough to trigger the registrant's responsibility to report the order as suspicious.
     The determination of whether an order is suspicious depends not only on the ordering patterns of the
     particular customer, but also on the patterns of the registrant's customer base and the patterns
     throughout the relevant segment of the regulated industry.                                        ·




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                             ABDCMDL00378495
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                 Registrant~ that rely on rigid formulas to define whether an order is suspicious may be failing
         to detect suspicious orders. For example, a system that identifies orders as suspicious only if the
         total amount of a controlled substance ordered during one month exceeds the amount ordered the
         previous month by a certain percentage or more is insufficient. This system fails to identify orders
         placed by a pharmacy if the pharmacy piaced unusually large orders from the beginning of its
         relationship with the distributor. Also, this system would not identify orders  assuspicious if the order
         were solely fof one highly abused controlled substa:nce if the orde(s never grew substantially.
         Nevertheless, ordering one highly abused controlled substance and little or nothing else deviates
         from the normal pattern of what pharmacies generally order. ·

                When reporting an order as suspicious, registrants must be clear in ·their communications wi'th .
         DEA that the registrant is actually characterizing an order as suspicious. Daily, weekly, or monthly
         reports submitted by a registrant in'dicating ."excessive purchases;' do not comply with the
         requirement to report suspicious orders, even if the registrant calls such reports "suspicious order
         reports."

                Lastly, ·registrants· that routinely report suspicious orders, ye.t fill these orders without first
         determining that order is not being diverted into other than legitimate med real, scientific, and industrial
         channels, may be failing to maintain effective controls against diversion. Failure to maintain effective
         controls against diversion is inconsistent with the public interest as that term is used in 21 USC 823
         and 824, and may result in the 'revocation of the registrant's DEA Certificate of Registration.

                 For additional Information regarding your obligation ,to report suspicious orders pursuant to 21 -
         CFR 1301.74(b), I refer you to the recent final order issued by the oe·p uty Administrator, DEA, in th·e
         matter of Southwood Pharmaceuticals Inc., 72 FR 36487 (2007). In addition to discussing the
         obligation to report suspicious orders when discovered by the registrant, and some criteri~ to use
         when determining whether an order is suspicious, the final order also specifically discusses your
         obligation to maintain effective controls against the diversion of controlled substances.


                                                                        Sincerely,




                                                                      )\o+T~
                                                                     (jph T. Rannazzisi
                                                                     Deputy Assistant Administrator
                                                                     Office of Diversion Control




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                            ABDCMDL00378496
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                                                       U.S. DEPRRTfflEnr OF JUSTICE

                                                DRUG. EnFORCEfflBilT AnmlnlSTRRTIUn


      WWM/.dea.gov                                                                                                  Washington, D.C. 20537

                                                                                                                    February 7, 2907




                                                                                                                 In referenc.e_JQ re_gJstra!io!:}_

      Dear Sir or Madam:
                                                                                                                     ,----·--
              . This:·letter is being sent to every.commercialentily ih the United States registered with the
       Drtig_·EriforcementAdminlstration (DEA) to distribute controlled substances. The porp-ose of this ..
     · tette.r is to reiterate the responsibilUies of controlled substance distributors in view of the prescriptrort ·
       dru9 abuse problem our nation curre·n tly faces.                                       ·
      Background
              As each of you is undoubtedly aware, the abuse (nonme_    d ical usE!) of controll~d prescription
     drugs is a serious and growing -he~lth problem in this coun.try. 1 DEA has aft obligatron to combat this
     problem-as one of the ~gency's core functions is_fo prevent the diversion of controlled substances
     into-illicit channels. Congr~ss assjgned: DEA-to c~rry out this futtdion ~hrough_ enforcement of the
     Controlled Substances Act (CSA) a:nd DEA regulations that implement the Act.
              The CSA was desfgned by Congress to combat diversion .by pt.oviding· for closed ·system of                   a
       drug distribution, in which all legitimate 'handlers of controlled substances must obtain a DEA
       registration and, as a condition of maintaining such registration, must take reasonable steps to
       ensure .that their re•g istration is not being utilized as a sol,lrce of diversion. Distributors: are, of.cou_rse,
       one of the ·key components of the distribution chain. -If the.closed system is to -fun·ction p'roperly as ·
    . Congress envisioned._distributors rtl\JSt be vigilant ih deciding· whether a pro~pective customer can be
      _trusted to deliver controlled substances only for lawful purposes. This responsibility is critic~I. as
       co·ngress has expressly declared that ttw illegal distribution of controlled substances has a             ·
       substantial and detrimental effect on fhe health and general welfare of the Amedcan people.             2


     The Statutory Scheme and Legar Duties of Distr:jbuiors as DEA Registrants
            Although most distributor"s are already well aware of the following legal principles, they are
     reiterated here as additional background for this discussion.
              The CSA uses the. concept of registration_as the primary. means by which manufacturers,
     distrib_utors, and practitioners are given legal authority to handle controlled substances. Registration
     also serves as the primary incentive for compliance with the regulatory requirements of ~he CSA and
     DEA regulations , as Congress gave DEA authority under the Act to revoke and suspend registrations
     for failure to comply with these requirements. (O.epen.ding on the circumstances, failure to comply
     with the regulatory requirements might also provide the basis for criminal or civil action under the
     CSA.)

     1 See National ln::;titute on Oru9 Abuse Research Report: PresCfiplion Drug Abuse and Addiction (revised August 2005); .
       available at www.drugabuse qovlPQFIRRPrescriptlon.pdf

     2 21 U.S.C. 601(2)




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                           ABDCMDL00378497
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           Before taking an actron to revoke a registration, DEA must .s_ e tve the registrant an o_rder to
    show cause, which advises the registrant of its ·right to ail administrative hearing before the agency
    (21 U.S.C 824{c)). The CSA a_lso gives DEA discretionary authority to suspend any regrs1raticm~ .
    simultaneously with the initiation of ~evocation proceedings_in ·cases where the agency finds \here is
    an ·imminentdanger to the public hea_lth and safety .(21 U.S.C. 824(d)).
           DEArecogniz~s that:the ·overwhelming majority of registered.,.distributors ?tt lawfully and tal<e
    appropriate measure~ to _prevent diversion. Moreove·r, all registrants - manufa_cturers_, distributors,
    pharn:,acies, ·and practitioners - share respons.ibility for maintaining appropriate·s.afegua:rds ag~inst
    diversion. Nqnetheless; given the extent of prescription drug abuse in the United $tates, along with
    the- dangerous and potentially· lethal con.l?equences of such abuse, even just one distributor that uses
    its OEA registration to facilitate diversion can cause enormous harm. _Accordingly, DEA will use its
    authority to revoke and suspend registrations in appropriate cases.                                ·
             The statutory fattc>rs-DEA must conside-r in deciding whether    to     revoke·a· distributor's
    registration are set fortt, in 21 U.S.C. 823(e). Listed first among_these factors is the duty' of
    distributors to maintain -effective controls .against diversion of controllec;t sub$tances into other than
    legiti,riate medical, scientific, ·and industrial chatrnefs. In ·addition, distributors· musfcomply with
    applicable state and local law. Cori'gress-als6 gave DEA authority under this provision .to revoke a
    registration based on the distributor's. past e-1(perience in the distribution of c6ntroUed sLibstance·s and
    bas.ed on "such other factors as·may be relevant to and consistent with the public health ~nd -saf~ty."
          The·-OEA.regulations· require all distributors to report suspicious orders of confrolled
    substances-. Specifically, the regutations state in 21 C.F.R. 1301.74(b):.

                The registi'ant·sha·ll·design and operate :a systerilto disclose·tothe reg.istran~
                suspicious orders of.controlled ,subst.ances. The registrant shall inform-the.fi.ielct
                Division Office of the Admiriistr~tion in hi.s area of suspicious orders whe11 ·
                dis.covered by the r~gjstrant. Suspicious orders include ord~(s. of uh!-;!suar size·,     .
               .orders deviating substantially from a normal pattern, and orders ot ·unusual freqtient;y.

           It bears emphasis that the foregoing reportjng .req~ire,:rient is In addition t_o, and not in lieu.·of,
    th'7:generaf.requirement under 21 U.S.G. 823(e) that a distributor,maintain effective controls against
    diversion·.
           Thus, in addition_to reportiflg all suspicious orders, a distributor ha·s a st~tutory respon~ibility to
    exercise due dmgence. to. _a void filling·. suspicious orders _that might be diverted:~nto other than
    legitimate medical, scientific, and indu~trial .channels. Failure. to exercise such due. dilig·ence. could,
    as circumstances warrant, provide a statutory basis for revocation or susp·ension .,o f a distributor's
    registration.
                                                                                   a
            In a similar vein, given the requirement under section 823(e) th~t dis.tributor maintain
    effecti~e controls against diversion, a distri~utor ma·y not simply rely on' the fact that the perso~
    placing the suspicious order is -a DEA registrant and turn a blind eye to the suspicious circumstances.
    Again, to maintain effective controls against div~rsion as section 823(e) ·requires, th~.dlstributor
    should exercise due care in confirming the legitimacy of all orders prio( to filling.
           In addition, distributors are required· to file reports of distributions of certain control.led
   .substances to the DEAARCOS Unit, in the time and manner specified in the regulations (21 C;FR.
    1304.33). The failure to file ARCOS reports in a complete and timely manner is a potential statutory
    Jasis for revocation tinder section 823(e). Depending on the circumstances, the-failure to keep or
    furnish required records might also be the basis for civil fines or criminal penalties under the CSA, as
    provided in 21 U.S.C. 842.




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              ABDCMDL00378498
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     Circumstances That Might Be Indicative ·of Diversion
                                    '
        . 0EAin:vestigations have revealed t~at"certain pharmacies-engaged in dispensing controlled
     substances for 9ther tha·n a ~egitimate medical purpose often display one or more of the following
     chara.cteristics in their pattern of ordering controlled ·-substances:
                   1. Ordering excessive qµantlties of a limited-variety of controlled substances (e.g.,
                   ordering only phentermine, hydrocodone, and alprazolam) while o'rdering Jew, if any,
                   other drugs                                            ·         .               .


                   2. Ordering a limited variety of controlled substances in quantities disproportionate
                  .to the quantity of non-controlled medications ordered -               ·          ·
                   3. Ordering excessive quantities of a limited variety of controlled substances
                   in combination with excesslve quantitles oflifestyle drugs
                   4. Ordering the same controlled s.ubstance from multiple distributors
            A distributor seeking to cfetermine whether a suspicious order is indicative of diversion of
     controlled substances to otlier·ttian legitimate medical channels may wish to inquire with the orderfng
     phctrmacy about thefollowihg:                           ·                 ·                    ·
                  1; What percentage of the pharmacy's business does dispensing controlled substances
                  constitute?                                              ·
                  2. Is the pharmacy complying with the laws of every state in which it is dispensing
                  controlled substances'?
                  3. Js the pharmacy ~eliciting buyers or controlled substances via the Internet or.is the
                  phc)rmacy associated with an Internet site that solicits orders for controlled substances?
                  4. Does the pharmacy, or Intern.et site. affiliated with the pharmacy, offer to facilitate the
                  acquisition of a prescription for a confroUed substance from a practitioner with whom the
                  buyer has no.pre-existing relationship? _
                  5. Does the pharmacy fill prescriptions issued by practitioners based solely on· an
                  on-line questionnaire without a medical examinatiqn or bona-fide doctor-patient
                  relationship?
                  6. Are the prescribing practitioners licensed to· practice medicine in the jurisdictions to
                  which- the controlled substances are being· shipped, if such a license is req·uiretj by state
                  law?
                  7. Are one or more practitioners writing a disproportionate share of the prescriptions for
                  controlled substances being filled by the pharmacy?
                  8. Does the pharmacy offer to sell controlled substances without a pres~ription?
                  9. Does the pharmacy charge reasonable prices for controlled substances?
                  10. Does the pharmacy accept insurance payment for purchases of controlled
                  substances made via the Internet?

            These questions are not all-inclusive; nor will the answer to any of these questions necessarily
     determine. wh~ther a suspicious order is indicative of diversion to other than legitimate medical
     channels. Distributors should cqnsider the totality of the circumstances when evaluating an order for
     controlled substances, just as DEA will do when determining whether the filling of an order is
     consistent with the. public interest within the meaning of 21 U.S.C. 823(e).               ·




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                          ABDCMDL00378499
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           We look forward to continuing to work in cooperation with distrjbutors toward our mutual goal
    of preventing the diversion of pharmac~utical controlled· substances.


                                                                Si_ncerely I




                                                                Joseph T. Rannazzisi
                                                                Deputy Assistant Administrator
                                                                Office of Diversion -Control




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                     ABDCMDL00378500
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                                                                U.S. DEPRHTUIEnT OF JUSTICE

                                                        DRU6 EnFORCBIDEflt ADminISTRRTltJn



        www.dea .gov                                                                                                 Washington, D.C. 20537 .
                                                                                                                     September 27, 2006




                  III 111 II 1111II111111111,1 ,II ... n11" ,.. ,II,. ,II, 111111 rl I, 111                      In reference to registration
                                                                                                                       #
        Dear Sir or Madam:
                This letter is being sent to every commercial entity in the United States registered with the
        Drug Enforcement Administration (DEA) to distribute controlled substances. The purpose of this
        letter is to reiterate the respohsibilities of controlled substance distributors in view of the prescription
        drug abuse problem our nation currently faces·.
        Background
                 As each of you is undoubtedly aware, the abuse (nonmedical use) of controlled prescription
        drugs is a serious and growing health problem in this country. 1 DEA has an obligation to combat this
        problem as one of the agency's core functions is to prevent the diversion of controlled substances
        into illicit channels. Congress assigned DEA to carry out this function through enforcement of the
        Controlled Subst~nces Act (CSA) and DEA regulations that implement the Act.
           The CSA was designed by Congress to combat diversion by providing for a closed system of
    drug distribution, in which all legitimate handlers of controlled substances must obtain a DEA
    registration and, as a condition of maintaining such registration, must take reasonable.steps to
    ensure that their registration is not being utilized as a source of diversion. Distributors are, of course,
    one of the key components of the ·distribution chain. If the closed system Is to function properly as
    Congress envisioned,. distributors must be vigilant in· deciding whether a prospective customer can be
    trusted to deliver controlled substances only for lawful purposes. This responsibility is critical, as
    Congress has expressly declared that the illegal distribution of controlled substances has ~
    substantial and detrimental effect on the health and general welfare of the American people.2
    The Statutory .Scheme                   aod    Legal Duties            of Distributors as DEA Regi§trants
           Although most distributors are already weir aware of the following legal principles, they are
    reiterated here as additional background for this discussion.
             The CSA uses the concept of registration as the primary means by which manufacturers,
    distributors, and pr~ctitioners are given legal authority to handle cont(olled substances. Registration .
    al~o serves as the primary incentive for compliance with the regulatory requirements of the CSA anq
    DE~ regulations, as Congress gave DEA authority under the Act to revoke and suspe.nd registrations
    for failure to comply with these requirements. (Depending on the circumstances, failure to comply
    with the regulatory requirements might also provide the basis for criminal or civil action under the
    CSA.)

    1
        See National Institute on Drug Abuse Research Report: Prescripllon Drug Abuse and Addiction (revised August 2005);
        avaHable at )t)t)tdroqabusg oovlPDFIRRPrQscrlqffon pdf                                ·              ·   .
    2 21   u.s.c. 801(2)




CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                          ABDCMDL00378501
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             Before taking an action to revoke a registration, DEA must serve the registrant an order to
      show cause, which advises the registrant of its right to an administrative hearing before the agency
      (21 U.S.C 824(c)). The CSA also gives DEA discretionary authority to suspend any registration
      simultaneously with the initiation of revocation proceedings in cases where the agency finds there is
      an imminent dahger to the public _health and safety (21 U.S.C. 824(d)).
             DEA recognizes that the overwhelming majority of registered distribute-rs act lawfully and take
      appropriate measures to prevent diversion. Moreover, all registrants - manufacturers, distributors,
      pharmacies, and practitioners - share responsibility for maintaining appropriate safeguards against
      diversion.- Nonetheless, given the extent of prescription drug abuse in the United States, along with
      the dangetous and potentially lethal consequences of such abuse, even just one distributor that uses
      its DEA registration to facilitate diversion can cause enormous harm. Accordingly, DEA will use its
      authority to revoke and suspend registtatlons in appropriate cases.
              The statutory factors DEA must consider in deciding whether to revoke a distributor's
      registration are set forth in 21 U.S.C. 823(e). Listed first among these factors Is the duty of
      distributors to maintain effective controls against diversion of controlled substances into other than
      legitimate medical, scientific, and industrial channels. In addition, distributors must comply with
      applicable state and local law. Congress also gave DEA authority under this provision to revoke a
      registration based on the distributor's past experience in the distribution of controlled substances and
      based on "such other factors as may be relevant to and consistent with the public health and safety."
           The DEA regulations require all distributors to report suspicious orders of controlled
     substances; Specifically, the regulations state in 21 C.F.R. 1301.74(b):

                The registrant shall design a_nd operate a system to disclose to the registrant
                 suspicious orders of controlled substances. The registrant shall inform the Field
               . Division Office of the Administration in his area of suspicious orders when
                discovered by the registrant. Suspicious orders include orders of unusual size,
                orders deviating substantially from a normal pattern, and orders of unusual frequency.

            It bears· emphasis that the foregoing reporting requirement is in addition to, and not in lieu of,
     the general requirement under 21 U.S.C. 823(e) that a distributor maintain effective controls against
     diversion ..
            Thus, in addition to reporting all suspicious orders, a distributor has a statutory responsibility to
     exercise due diligence to avoid filling suspicious orders that might be diverted into other than
     legitimate medical, scientific, and industrial channels. Failure to exercise such due diligence could,
     as circumstances warrant, provide a statutory basis for revocation or suspensie>n of a-distributor's
     registration.
             In a similar vein, given the requirement under section 823(e) that a distributor maintain
     effective _controls against diversion, a distributor may not simply rely on the fact that the person
     placing the suspicious order is a DEA registrant and turn a blind eye to the suspicious circumstances.
     Again, to maintain effective controls against diversion as section 823(e) requires, the distributor
     should exercise due .care in confirming the legitimacy of all orders prior to filling.
            In addition, distributors are required to file reports of distributions of certain controlled
     substances to t_ he DEAARCOS Unit, In the time and manner specified in the regulations (21 C.F.R.
     1304.33). The failure to file ARCOS reports in a complete and timely manner ls a potential statutory
     basis for revocation under section 823(e). Depending on the circumstances, the failure to keep or
     furnish required records might also be the basis for civil fines or criminal penalties under the CSA as
     provided in 21 U.S.C. 842.                                                                           '




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     Cjrcumstances   That Might Be Indicative of Diversion
          DEA investigations have revealed that certain pharmacies engaged in dispensing controlled
    substances for other than a legitimate medical purpose often display one or more of the following
    characteristics In their pattern of ordering controlled substances:
                 1. Ordering excessive quantities of a limited variety of controlled substanc-es (e.g.,
                 ordering only phentermine, hydrocodone, and alprazolarn) while ordering few, if any,
                 other drugs
                 2. Ordering a limited variety of controlled substances in quantities disproportionate
                 to the quantity of non-controlled medications ordered ·                        ·
                 3. Ordering excessive quantities of a limited variety of controlled substances
                 in combination with excessive quantities of lifestyle drugs    ·
                 4. Ordering the same controlled substance from multiple distributors
           A distributor seeking to determine whether a suspicious order is indicative of diversion of
    controlled substances fo o1her than legitimate medical channels may wish to inquire with the ordering
    pharmacy about the following:
                 1. What p·ercentage of the pharmacy 1s business does dispensing controlled substances
                 constitute?
                 2. Is the pharmacy complying with the laws of every state in which it i~ dispensing
                 controlled substances?
                 3. Is the pharmacy soliciting buyers of controlled substances via the Internet or is the
                 pharmacy associated with an Internet site that solicits orders for controlled substances?
                 4. Does the pharmacy, or Internet site affiliated with the pharmacy, offer to facilitate the
                 acquisition of a prescription for a controlled substance from a practitioner with whom the
                 buyer has no pre-existing relationship? ·
                 5. Does the pharmacy fill prescriptions issued by practitioners based solely on an
                 on-line questionnaire without a medical examination or bona-fide doctor-patient
                 relationship?
                6. Are the prescribing practitioners licensed to practice medicine in the jurisdictions to
                which the controlled substances are being shipped, if such a license rs required by state
                law?
                7. Are one or more practitioners writing a disproportionate share of the prescriptions for
                controlled substances being filled by the pharmacy?
                8. Does the pharmacy offer to sell controlled substances without a prescription?
                9. Does the pharmacy charge reasonable prices for controlled substances?
                1O. Does the pharmacy accept insurance payment for purchases of controlled
                substances made via the Internet?

          These questions are not all-inclusive; nor will the answer to any of these questions necessarily
   determine whether a suspicious order is indicative of diversion to other than legitimate medical
   channels. Distributors should consider the totality of the circumstances when evaluating an order for
   controlled substances, just as DEA will do when determining whether the filling of an order is
   .;onsistent with the public Interest within the meaning of 21 U.S.C. 823(e).




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            We look forward to continuing to work in cooperation with distributors toward our mutual goal
     of preventing the diversion of pharmaceutfcal controlled substances.


                                                                 Sincerely, .




                                                                 Joseph T. Rannazzisi
                                                                 Deputy Assistant Administrafor
                                                                 Office of Diversion Control




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                                                                                                   P-00032_00012
